                                       UNITED STATES BANKRUPTCY COURT
                                        EASTERN DISTRICT OF MICHIGAN

In re:
                                                                                      Chapter: 7
ANGELA JANE-HOWEY SIMPSON                                                             Case No.: 16-21964-dob

                          Debtor.
____________________________________________________________________________________/

           NOTICE OF DEADLINE TO OBJECT TO PROPOSED CHAPTER 13 PLAN

            The Debtor, ANGELA JANE-HOWEY SIMPSON, has filed a Chapter 13 Plan with the Court.

        Your rights may be affected. You should read these papers carefully and discuss them with
your attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you may wish
to consult one.)

        If you do not want the court confirm the proposed Chapter 13 Plan, or if you want the court to
consider your views on the plan, then on or before April 20, 2017, you or your attorney must:

            1. File with the court a written response, explaining your position at:i

                      • United States Bankruptcy Court, 111 First Street, Bay City, Michigan 48708

            If you mail your objection to the court for filing, you must mail it early enough so the court will
            receive it on or before the date stated above. All attorneys are required to file pleadings
            electronically.

            2. You must also mail a copy to:

                      • Cristie A. VanMassenhove, 421 S. Ripley Blvd., Alpena, Michigan 49707
                      • Thomas W. McDonald, Jr. 3144 Davenport, Saginaw, Michigan 4860

                If an objection is filed, a hearing to consider the proposed Plan will be held at:

                    Address:                                              Date and Time:
                    111 First Street                                      4/27/2017 at 08:30 AM
                    Bay City, Michigan 48708



    Dated: March 11, 2017                                                  _/s/Cristie A. VanMassenhove__
                                                                           CRISTIE A. VANMASSENHOVE (P72704)
                                                                           KANE, FUNK & POCH, P.C.
                                                                           421 S. Ripley Boulevard
                                                                           Alpena, MI 49707
                                                                           (989) 356-2128
                                                                           CristieVanMassenhove@gmail.com


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    Response or answer must comply with F. R. Civ. P. 8(b), (c) and (e)




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